         Case 7:17-cv-00979-TMP Document 9 Filed 07/24/17 Page 1 of 2                          FILED
                                                                                       2017 Jul-24 AM 09:03
                                                                                      U.S. DISTRICT COURT
                                                                                          N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         WESTERN DIVISION

                                         )
 JOHN SNODDERLY,                         )
                                         )             CIVIL ACTION NO.
       Plaintiff,                        )
                                         )
 v.                                      )              7:17-CV-979-TMP
                                         )
 JACOB LAW GROUP, PLLC,                  )
 AND JACOB COLLECTON                     )
 GROUP, LLC,
                                         )
       Defendants.                       )



                             NOTICE OF SETTLEMENT

       Plaintiff John Snodderly (“Plaintiff”), by and through his undersigned counsel,

hereby respectfully notifies the court that Plaintiff and Defendants Jacob Law Group, LLC

and Jacob Collection Group, LLC (collectively referred to as the “Parties”) have reached a

settlement in the above-captioned matter. The Parties intend to file a Joint Stipulation of

Dismissal with Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) after

the Parties consummate the settlement and within thirty (30) day of today’s date.



                                   Respectfully Submitted,

                                   /s/ Micah S. Adkins
                                   Micah S. Adkins (ASB-8639-I48A)
                                   THE ADKINS FIRM, P.C.
                                   2 Perimeter Park South, Suite 405 E
                                   Birmingham, Alabama 35243
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                                Email: MicahAdkins@ItsYourCreditReport.com
                                Counsel for Plaintiff


                          CERTIFICATE OF SERVICE

I hereby certify that on July 24, 2017, I mailed the foregoing paper by U.S. Mail
postage pre-paid on the following:

JACOB COLLECTION GROUP, LLC
c/o Registered Agent
CORPORATION SERVICE COMPANY INC
641 SOUTH LAWRENCE STREET
MONTGOMERY, AL 36104

JACOB LAW GROUP, PLLC
c/o Registered Agent
CORPORATION SERVICE COMPANY INC
641 SOUTH LAWRENCE STREET
MONTGOMERY, AL 36104


                                      /s/ Micah S. Adkins
                                      Micah S. Adkins
